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February 12, 2020

VIA E-FILING

Honorable Esther Salas

Martin Luther King Building & U.S. Courthouse
50 Walnut Street Room 4015

Newark, NJ 07101

Re: Fuller, et al. vy. INSYS Therapeutics, Inc., et al.
Docket No.: 2:17-cv-07877-ES-SCM

Dear Judge Salas:

As Your Honor is aware, this office represents defendant, Rochester Drug Cooperative,
inc. (“RDC”) in the above captioned matter. In that regard, we are in receipt of the Court’s letter,
dated February 10, 2020 (doc. 239) in which Your Honor requests that RDC clarifies whether it
seeks to withdraw its motion to dismiss for lack of personal jurisdiction. RDC moved to dismiss
Plaintiffs’ Second Amended Complaint (the “SAC”) against RDC pursuant to Fed. R. 12(b)(6) for
failure to state a cause of action because 1) the SAC is time barred by the applicable statute of
limitations; 2) Plaintiffs’ claims against RDC do not relate back to the original complaint; 3) that
Plaintiffs’ claims for common law fraud and negligent misrepresentation are insufficiently
pled. RDC also moved to dismiss the SAC pursuant to Fed. R. 12(b)(2) for lack of personal
jurisdiction. RDC wishes to withdraw that portion of its motion seeking to dismiss pursuant to
Fed. R. 12(b)(2) only. RDC seeks to maintain and pursue the remaining portions of its motion to
dismiss brought pursuant Fed. R. 12(b)(6) for violating the statute of limitations and failure to
properly state a cause of action.

 

Respectfully submitted, . .
Rochester Drug Cooperative Inc.'s motion to dismiss (D.E.
Hawkins Parnell & Young, LLP No. 207) is withdrawn in part, as to the Federal Rule of
Civil Procedure 12(b}X{2) personal jurisdiction portion
s/Roy F. Viola, Jr. only. Accordingly, the Plaintiffs request for further
briefing on the issue of personal jurisdiction (D.E. No.
Roy F. Viola, Jr. 231) is denied.

   

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